                                                                                      So Ordered.

                                                        Dated: March 25th, 2021
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                                                                           11                                 UNITED STATES BANKRUPTCY COURT
P ACHULSKI S TANG Z IEHL & J O NES LLP




                                                                           12                                 EASTERN DISTRICT OF WASHINGTON
                                         SAN F RA NCISCO , CAL IFOR NI A




                                                                           13       In re:                                           Chapter 11
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                                                                           14       EASTERDAY RANCHES, INC., et al.                  Lead Case No. 21-00141 (WLH)
                                                                           15                                     Debtors. 1
                                                                                                                                     FINAL ORDER AUTHORIZING
                                                                           16                                                        DEBTOR EASTERDAY
                                                                                                                                     RANCHES, INC. TO USE CASH
                                                                           17                                                        COLLATERAL AND GRANTING
                                                                                                                                     ADEQUATE PROTECTION
                                                                           18

                                                                           19

                                                                           20                Upon the motion (the “Motion”)2 of one of the above-captioned debtors and
                                                                           21   debtors in possession, Easterday Ranches, Inc. (the “Debtor”), under sections 361,
                                                                           22   363, and 507 of title 11 of the United States Code (the “Bankruptcy Code”), Rule
                                                                           23   4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and
                                                                           24   Rule 4001-3 of the United States Bankruptcy Court Eastern District of Washington
                                                                           25   Local Rules (“LBR”), for interim and final orders authorizing the Debtor to use
                                                                           26

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                                                                                  The Debtors along with their case numbers are as follows: Easterday Ranches, Inc.
                                                                                (21-00141) and Easterday Farms, a Washington general partnership (21-00176).
                                                                           28   2
                                                                                  Capitalized terms not defined herein shall have the meanings set forth in the Motion.
                                                                                FINAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION
                                                                                DOCS_SF:105111.10 20375/002

                                                                            21-00141-WLH11            Doc 470     Filed 03/25/21   Entered 03/25/21 15:39:05   Pg 1 of 11
                                                                            1   cash collateral in which Washington Trust Bank (“Washington Trust”), CHS Capital,
                                                                            2   LLC (“CHS”), Prudential Insurance Company of America (“Prudential”), Equitable
                                                                            3   Financial Life Insurance Company f/k/a AXA Equitable Life Insurance Company
                                                                            4   (“Equitable Financial”) (Washington Trust, CHS, Prudential, and Equitable Financial,
                                                                            5   collectively the “Cash Collateral Lenders”), Weyns Farms, LLC (“Weyns Farms”),
                                                                            6   Sunray Farms, LLC (“Sunray Farms”), J.R. Simplot Company (“Simplot”), and Brad
                                                                            7   Curtis Farms (Weyns Farms, Sunray Farms, Simplot, and Brad Curtis Farms, together
                                                                            8   with the Cash Collateral Lenders, together the “Cash Collateral Parties”), may assert
                                                                            9   an interest, including any funds to be advanced by Tyson Fresh Meats, Inc. (“Tyson”)
                                                                           10   to the Debtor, and granting adequate protection.
                                                                           11            The Debtor has served notice of the Motion as is appropriate under the
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                                                                           12   circumstances, as required under sections 102(1) and 363 of the Bankruptcy Code,
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                                                                           13   Bankruptcy Rule 4001(b), and LBR 4001-3. The Office of U.S. Trustee has appointed
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                                                                           14   the Official Committee of Unsecured Creditors (the “Ranches Committee”) in the
                                                                           15   Debtor’s case and a separate Official Committee of Unsecured Creditors in the case of
                                                                           16   Easterday Farms (the “Farms Committee” and referred to collectively with the
                                                                           17   Ranches Committee as the “Committees” and each individually, a “Committee”).
                                                                           18            An emergency interim hearing on the Motion having been held by this court on
                                                                           19   February 3, 2021 and an interim order having been entered on February 3, 2021 [ECF
                                                                           20   No. 56]. A final hearing on the Motion having been held on March 23, 2021. Upon
                                                                           21   the record made by the Debtor at such final hearing, after considering the Motion and
                                                                           22   the arguments and evidence presented, and after due deliberation and consideration
                                                                           23   and sufficient cause appearing therefor,
                                                                           24            IT IS HEREBY FOUND, DETERMINED, ORDERED AND ADJUDGED
                                                                           25   that:
                                                                           26                     1.          Disposition. The Motion [ECF No. 12] is granted on a final basis
                                                                           27   on the terms set forth herein. Any objections to the relief sought in the Motion, and
                                                                           28
                                                                                FNAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION-2
ec24jy0197                                                                      DOCS_SF:105111.10 20375/002

                                                                            21-00141-WLH11             Doc 470      Filed 03/25/21   Entered 03/25/21 15:39:05   Pg 2 of 11
                                                                            1   any reservations of rights with respect to such relief, that have not been previously
                                                                            2   resolved or withdrawn are overruled on the merits. This Final Order shall be valid,
                                                                            3   binding, and enforceable on all parties in interest and fully effective immediately upon
                                                                            4   entry.
                                                                            5                     2.          Jurisdiction and Venue. This court has jurisdiction over this matter
                                                                            6   pursuant to 28 U.S.C. §§ 157 and 1334, and venue is proper. This matter is a core
                                                                            7   proceeding within the meaning of 28 U.S.C. § 157(b)(2).
                                                                            8                     3.          No Waivers. The Debtor makes no representation, warranty,
                                                                            9   acknowledgement or admission regarding whether it has (or does not have) any
                                                                           10   defenses, setoffs, counterclaims or recoupments that could be asserted against the
                                                                           11   Cash Collateral Parties and the Debtor reserves all rights, claims and defenses with
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                                                                           12   respect thereto. In addition, the Debtor make no representation, warranty,
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                                                                           13   acknowledgement or admission with respect to the enforceability, perfection, priority,
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                                                                           14   avoidability or validity of the Cash Collateral Parties’ respective security interests in
                                                                           15   the Debtor’s assets, including cash collateral.
                                                                           16                     4.          Cause Shown. Good cause has been shown for the entry of this
                                                                           17   Final Order.
                                                                           18                     5.          Business Justification. The Debtor has a critical need to use cash
                                                                           19   collateral, including funds advanced by Tyson, in order to permit, among other things,
                                                                           20   preservation and maintenance of the Debtor’s cattle and other assets. The Debtor’s
                                                                           21   access to sufficient working capital and liquidity through the use of cash collateral is
                                                                           22   vital to maximizing the value of the Debtor’s estate.
                                                                           23                     6.          Fair and Reasonable Terms. Based on the record presented to this
                                                                           24   court at the final hearing, the terms of use of the cash collateral are fair and reasonable
                                                                           25   and reflect the Debtor’s exercise of prudent business judgment consistent with its
                                                                           26   fiduciary duties.
                                                                           27

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                                                                                FNAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION-3
ec24jy0197                                                                      DOCS_SF:105111.10 20375/002

                                                                            21-00141-WLH11             Doc 470       Filed 03/25/21   Entered 03/25/21 15:39:05   Pg 3 of 11
                                                                            1                     7.          Authorization to Use Cash Collateral. Subject to the terms of this
                                                                            2   Final Order, the Debtor is hereby authorized to use cash collateral, including any
                                                                            3   funds to be advanced by Tyson to the Debtor, from the date hereof through the earliest
                                                                            4   of: (i) November 14, 2021; (ii) the effective date of a confirmed plan of
                                                                            5   reorganization in this chapter 11 case, (iii) the closing of a sale of substantially all
                                                                            6   assets of the Debtor; and (iv) the date of a material breach by the Debtor under this
                                                                            7   Final Order (the “Budget Period”), or such other date as the Debtor, Washington
                                                                            8   Trust, and CHS may agree to in writing when, as and to the extent permitted under the
                                                                            9   budget attached hereto as Exhibit 1, or when, as and to the extent permitted by such
                                                                           10   other budget as the Debtor, Washington Trust, and CHS may agree to in writing from
                                                                           11   time to time (the “Budget”), provided that any such other budget shall be provided, at
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                                                                           12   least three (3) business days before going into effect, to the other Cash Collateral
                                         SAN F RA NCISCO , CAL IFOR NI A




                                                                           13   Parties and each Committee.
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                                                                           14                     8.          Disbursements Subject to Budget. The Debtor is only authorized
                                                                           15   to use cash collateral during the Budget Period in a manner consistent with the
                                                                           16   Budget; provided that, disbursements may occur earlier or later than the dates
                                                                           17   forecasted in the Budget so long as such disbursements occur during the Budget
                                                                           18   Period, including to fund or reserve amounts necessary to pay professional fees
                                                                           19   accrued to the extent set forth in the Budget.
                                                                           20                     9.          Events of Default. The following shall constitute Events of Default
                                                                           21   under this Final Order:
                                                                           22                     (i)         Failure to abide by any material term, covenant or condition
                                                                           23                                 approved by or incorporated into this Final Order;
                                                                           24                     (ii)        Termination of the automatic stay with respect to any cash
                                                                           25
                                                                                                              collateral;

                                                                           26                     (iii)       Absent the prior written approval of Washington Trust and CHS,
                                                                                                              disbursements by the Debtor for “Operating Disbursements” on an
                                                                           27                                 aggregate basis during the Budget Period may deviate up to 20%
                                                                           28                                 from the amounts specified in the Budget for each month;
                                                                                FNAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION-4
ec24jy0197                                                                      DOCS_SF:105111.10 20375/002

                                                                            21-00141-WLH11               Doc 470     Filed 03/25/21   Entered 03/25/21 15:39:05   Pg 4 of 11
                                                                            1                     (iv)        The Debtor fails to maintain adequate insurance covering the
                                                                            2                                 collateral;

                                                                            3                     (v)         Any of the collateral is converted by the Debtor, lost or stolen in any
                                                                                                              material amount due to a failure on the part of the Debtor to take
                                                                            4
                                                                                                              reasonable precautions to protect the collateral from loss or waste,
                                                                            5                                 or not accounted for by the Debtor;
                                                                            6                     (vi)        The Debtor fails to timely deliver any reports required hereunder;
                                                                            7
                                                                                                  (vii) Entry of an order converting the Debtor’s case to a proceeding under
                                                                            8                           Chapter 7; and
                                                                            9                     (viii) Entry of an order dismissing Debtor’s Chapter 11 Case.
                                                                           10                     10.         Remedies Upon Default. Upon the occurrence of an Event of
                                                                           11   Default, any Cash Collateral Party may immediately, without notice or demand
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                                                                           12   withdraw its consent for the use of cash collateral. Nothing in this Order limits or
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                                                                           13   otherwise impairs the ability of any Cash Collateral Party to seek relief from the
                                             ATTOR NE YS A T LAW




                                                                           14   automatic stay or other relief from the Ccourt.
                                                                                                                                  _
                                                                           15                     11.         Reporting. The Debtor shall provide to the Cash Collateral Lenders
                                                                           16
                                                                                and each Committee, without limitation, the following items:
                                                                           17
                                                                                                  (i)         Weekly, a cash flow report for all periods since the Petition Date,
                                                                           18
                                                                                                              including a comparison of actual results to the projections set forth
                                                                           19                                 in the Budget; and
                                                                           20                     (ii)        Any other information that the Cash Collateral Lenders reasonably
                                                                           21                                 request subject to appropriate confidentiality restrictions.

                                                                           22   The Debtor further agrees to permit representatives from Washington Trust and CHS
                                                                           23   to, upon reasonable prior notice, visit any of Debtor’s properties during regular
                                                                           24   business hours to review and inspect any of their prepetition collateral together with
                                                                           25   any non-privileged books and records related thereto.
                                                                           26                     12.         Adequate Protection. The Cash Collateral Parties are entitled,
                                                                           27   pursuant to sections 361, 362(d) and 363(e) of the Bankruptcy Code, to adequate
                                                                           28
                                                                                FNAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION-5
ec24jy0197                                                                      DOCS_SF:105111.10 20375/002

                                                                            21-00141-WLH11               Doc 470     Filed 03/25/21   Entered 03/25/21 15:39:05     Pg 5 of 11
                                                                            1   protection of their respective interests in the Debtor’s property, for and equal in
                                                                            2   amount to the aggregate diminution in the value of the Cash Collateral Parties’
                                                                            3   interests in the Debtor’s property (including cash collateral) with the same validity (or
                                                                            4   invalidity), perfection (imperfection or avoidable perfection) and priority (or lack of
                                                                            5   priority) as exists as of the Petition Date (the “Diminution in Value”) resulting from
                                                                            6   the use, sale or lease by the Debtor (or other decline in value) of the cash collateral
                                                                            7   and any other asset of the Debtor that is the subject of existing liens and the
                                                                            8   imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code. As
                                                                            9   adequate protection, the Cash Collateral Parties are hereby granted the following
                                                                           10   (subject to the same priorities that exist as between the Cash Collateral Parties as of
                                                                           11   the Petition Date):
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                                                                           12                     (i)         a continuing security interest in and lien on all collateral of the
                                                                                                              Debtor of the same type and nature that exists as of the Petition
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                                                                                                              Date with the same validity (or invalidity), perfection
                                                                           14                                 (imperfection or avoidable perfection) and priority (or lack of
                                                                           15                                 priority) as exists as of the Petition Date, including the proceeds
                                                                                                              thereof (the “Replacement Lien”),
                                                                           16

                                                                           17
                                                                                                  (ii)        solely to the extent of any Diminution in Value, an additional and
                                                                                                              replacement security interest in and lien on all property and assets
                                                                           18                                 of the Debtor’s estate (the “Adequate Protection Lien”), provided
                                                                           19
                                                                                                              however, that (a) such security interest and lien shall be junior to
                                                                                                              any existing, valid, senior, enforceable and unavoidable prior
                                                                           20                                 perfected security interests and liens, (b) in the event that the
                                                                           21
                                                                                                              Debtor obtains postpetition financing in this chapter 11 case, such
                                                                                                              security interest and lien may be junior to any valid, senior,
                                                                           22                                 enforceable security interests and liens granted to the postpetition
                                                                           23                                 lenders and authorized by this court in connection with such
                                                                                                              postpetition financing, provided, however, that each of the Cash
                                                                           24                                 Collateral Parties and each Committee reserves its respective right
                                                                           25                                 to object to such financing or to the granting of any such liens, and
                                                                                                              (c) such security interest and lien shall not attach to any claims,
                                                                           26                                 defenses, causes of action or rights of the Debtor arising under
                                                                           27                                 sections 542-553 of the Bankruptcy Code and applicable state
                                                                                                              fraudulent transfer law (including all proceeds thereof), and
                                                                           28
                                                                                FNAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION-6
ec24jy0197                                                                      DOCS_SF:105111.10 20375/002

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                                                                            1                     (iii)       solely to the extent of any Diminution in Value, to the extent
                                                                            2                                 provided by sections 503(b) and 507(b) of the Bankruptcy Code,
                                                                                                              an allowed superpriority administrative claim in this chapter 11
                                                                            3                                 case (the “Adequate Protection Claim”), provided however, in the
                                                                            4                                 event that the Debtor obtains postpetition financing in this chapter
                                                                                                              11 case, such administrative claim, if any, may be junior to the
                                                                            5                                 administrative claim granted to such postpetition lenders and
                                                                            6                                 authorized by this court in connection with such postpetition
                                                                                                              financing.
                                                                            7
                                                                                The Replacement Lien and any Adequate Protection Lien will be deemed to be
                                                                            8
                                                                                perfected automatically upon entry of this Order, without the necessity of filing any
                                                                            9
                                                                                UCC-1 financing statement, state or federal notice, mortgage, or similar instrument or
                                                                           10
                                                                                document in any state or public record or office and without the necessity of taking
                                                                           11
                                                                                possession or control of any collateral.
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                                                                           12
                                                                                                  13.         Funding of Segregated Account for Estate Professionals. The
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                                                                                amounts set forth in the Budget for the payment of “Professional Fees – Debtor” and
                                                                           14
                                                                                “Professional Fees – Committee” may be deposited by the Debtor, at the times
                                                                           15
                                                                                identified in the Budget, into a segregated account of the Debtor (“Segregated
                                                                           16
                                                                                Account for Professionals”) for the intended purpose of subsequently paying such
                                                                           17
                                                                                amounts on the later of (x) the due date, or (y) the date of their allowance by this
                                                                           18
                                                                                court (or when otherwise authorized to be paid pursuant to a customary order of this
                                                                           19
                                                                                court pursuant to section 331 of the Bankruptcy Code). The use of this fund is not
                                                                           20
                                                                                limited to its stated intended purpose. For the avoidance of doubt, the amounts set
                                                                           21
                                                                                forth in the Budget for the payment of estate professional fees and the amounts funded
                                                                           22
                                                                                to the Segregated Account for Professionals are not, and shall not be construed to be, a
                                                                           23
                                                                                cap or other limitation on the amounts that may be incurred or allowed for estate
                                                                           24
                                                                                professional fees in these bankruptcy cases.
                                                                           25
                                                                                                  14.          Binding Effect; Successors and Assigns. The provisions of this
                                                                           26
                                                                                Final Order, including all findings herein, shall be binding upon all parties in interest
                                                                           27
                                                                                in the chapter 11 case, including, without limitation, the Cash Collateral Parties, each
                                                                           28
                                                                                FNAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION-7
ec24jy0197                                                                      DOCS_SF:105111.10 20375/002

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                                                                            1   Committee, and the Debtor, and their respective successors and assigns (including any
                                                                            2   chapter 7 or chapter 11 trustee hereinafter appointed or elected for the Debtor’s estate)
                                                                            3   and shall inure to the benefit of the Cash Collateral Parties, each Committee, and the
                                                                            4   Debtor, and their respective successors and assigns.
                                                                            5                     15.         Reservation of Rights. The Debtor reserves all rights to seek other
                                                                            6   or additional use of cash collateral or debtor in possession financing on such further or
                                                                            7   different terms and conditions as may be approved by this court. Nothing in this Final
                                                                            8   Order may be construed as a consent to any such request by any Cash Collateral Party
                                                                            9   or each Committee, and the Cash Collateral Parties and each Committee reserve all
                                                                           10   rights to object to such requests. Further, notwithstanding the amounts set forth in the
                                                                           11   Budget or the payments made by the Debtor in accordance therewith, all rights of the
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                                                                           12   Debtor, the Cash Collateral Parties, Tyson, and each Committee to challenge, contest,
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                                                                           13   dispute, or seek return of such amounts or payments at a later date on any basis
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                                                                           14   permitted by law or equity are in no way affected or diminished and are hereby
                                                                           15   expressly preserved, including but not limited to any rights with respect to (a) whether
                                                                           16   the amounts or payments in the Budget should be allocated to or borne by another
                                                                           17   party and (b) the propriety of any payments by the Debtor to Farms on account of feed
                                                                           18   delivered prepetition by Farms or any third party feed supplier.
                                                                           19                     16.         Effectiveness. Notwithstanding Bankruptcy Rules 4001(a)(3),
                                                                           20   6004(h), 6006(d), 7062 or 9024 or any other Bankruptcy Rule, or Rule 62(a) of the
                                                                           21   Federal Rules of Civil Procedure, this Final Order shall be immediately effective and
                                                                           22   enforceable upon its entry and there shall be no stay of execution of effectiveness of
                                                                           23   this Final Order as provided in such Rules.
                                                                           24

                                                                           25                                              //END OF ORDER//
                                                                           26

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                                                                                FNAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION-8
ec24jy0197                                                                      DOCS_SF:105111.10 20375/002

                                                                            21-00141-WLH11              Doc 470      Filed 03/25/21   Entered 03/25/21 15:39:05   Pg 8 of 11
                                                                            1   Submitted by:
                                                                            2
                                                                                By /s/ Thomas A. Buford_________________
                                                                            3   THOMAS A. BUFORD, III (WSBA 52969)
                                                                                BUSH KORNFELD LLP
                                                                            4

                                                                            5   RICHARD M. PACHULSKI (admitted pro hac vice)
                                                                                JEFFREY W. DULBERG (admitted pro hac vice)
                                                                            6   MAXIM B. LITVAK (admitted pro hac vice)
                                                                                PACHULSKI STANG ZIEHL & JONES LLP
                                                                            7
                                                                                Attorneys for Debtors and Debtors in Possession
                                                                            8

                                                                            9   * Change made by court

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                                                                                FNAL ORDER AUTHORIZING DEBTOR EASTERDAY RANCHES, INC. TO USE CASH
                                                                                COLLATERAL AND GRANTING ADEQUATE PROTECTION-9
ec24jy0197                                                                      DOCS_SF:105111.10 20375/002

                                                                            21-00141-WLH11            Doc 470   Filed 03/25/21   Entered 03/25/21 15:39:05   Pg 9 of 11
                                                                            1                                               Exhibit 1
                                                                            2                                                   Budget
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                                                                  Easterday Ranches
                                                                Cash Collateral Budget
                                                                3/1/2021 - 6/30/2021


                                                Projected       Projected       Projected     Projected       Projected       Projected     Projected     Projected    Projected
                                    Period #:       1               2               3             4               5               6             7             8          1-8
($000s)                        Period Ending:   3/15/21         3/31/21         4/15/21       4/30/21         5/15/21         5/31/21       6/15/21       6/30/21       Total
Receipts
   Tyson Advances                               $ 1,860         $ 2,156         $ 1,698       $ 1,377         $ 1,067         $    712      $    424      $    239     $ 9,534

Operating Disbursements
   Feed - 3rd Party (paid/consumed)                   519             501             403           326             235            171              94          57          2,307
   Feed - Farms (paid/consumed)                     1,227           1,184             952           770             556            403           223           135          5,450
   Salaries, Wages & Benefits                         191             187             148           122                86             64            35          21            853
   Maintenance                                           74              61              58            40              34             21            13           7            307
   Freight                                               72              59              56            39              33             20            13           7            299
   Fuel/Propane                                          58              49              45            32              26             17            11           6            242
   Repairs                                               57              48              44            31              26             16            10           5            236
   Supplies                                              22              21              17            13              10              7             4           2             97
   North Feedlot Rent                                  -               -               -             -                 87           -               46           6            140
   Utilities & Deposits                                -                 22            -               14            -                 7          -              3             46
   Other Miscellaneous                                   18              28              14            18               8             10             3           3            103
      Total Operating Disbursements                 2,238           2,160           1,738         1,404           1,102            735           453           253         10,081

Restructuring Disbursements
   Professional Fees - Debtor                          -                   67          67                67              67            67            67         67           470
   Professional Fees - Committee                       -                   19          19                19              19            19            19         19           130
   US Trustee & Misc. Reserve                              24          -               42            -               -             -             -              72           138
      Total Restructuring Disbursements                    24              86         128                86              86            86            86        157           738

Net Cash Flow                                   $    (402) $           (89) $        (167) $       (112) $         (121) $        (109) $       (114) $       (171)    $ (1,286)

Tyson Cash Roll-Forward
    Tyson Cash Beginning Balance                $ 1,206 $     828 $    824 $    785 $    758 $                                     723 $         700 $         672     $ 1,206
    Tyson Advances                                 1,860    2,156    1,698    1,377    1,067                                       712           424           239         9,534
    Tyson Bills                                   (2,238)  (2,160)  (1,738)  (1,404)  (1,102)                                     (735)         (453)         (253)      (10,081)
    Restructuring Draws                               -        -        -        -        -                                         -             -             -             -
      Tyson Cash Ending Balance                 $    828 $    824 $    785 $    758 $    723 $                                     700 $         672 $         658     $     658

Ranches Cash Roll-Forward
   Ranches Beginning Cash                       $     706       $     528       $     515     $     385       $     336       $    299      $    218      $    152     $     706
   Ranches Receipts                                   107             103              83            67              48             35            19            12           473
   Non-Reimbursed Expenses
     D&O Insurance                                   (200)             -               -             -               -              -             -             -          (200)
     Independent Directors Fees                       (60)             (30)            -             (30)            -              (30)          -             -          (150)
     Professional Fees - Debtor                        -               (67)            (67)          (67)            (67)           (67)          (67)          (67)       (470)
     Professional Fees - Committee                     -               (19)            (19)          (19)            (19)           (19)          (19)          (19)       (130)
     US Trustee Fees                                   (24)            -               (42)          -               -              -             -             (72)       (138)
     Property Taxes                                    -               -               (85)          -               -              -             -             -            (85)
        Total Non-Reimbursed Expenses                (284)           (116)           (213)         (116)             (86)         (116)           (86)        (157)      (1,173)
     Ranches Ending Cash                        $     528 $           515 $           385 $         336 $           299 $          218 $         152 $            6    $       6




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